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JUDICIAL PANEL O

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
MULTIDISTRICT LITIGATION
SEP = 4 2003

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In re NESTLE WATERS NORTH § CLERK'S OFFICE
AMERICA, INC. MARKETING
LITIGATION §  MDLNo. 1569

CONSOLIDATED RESPONSE TO MOTION FOR TRANSFER

COME NOW Monica Bliss-Weick, Muire Cosgrove, Daniel Gaito, Ticia
Joseph, Deborah Kuhn, Lisa McGonagle, Michelle Savalle, and SDB Trucking, LLC, the
Plaintiffs in six of the seven actions’ that are the subject of the “Motion for Transfer for
Consolidated Pretrial Proceedings” filed by Defendant Nestle Waters North America,
Inc., and file this response to the Defendant’s Motion for Transfer:

i, The Plaintiffs admit the material averments of the Defendant’s
Motion for Transfer, with the following exceptions and additions:

a). On September 2, 2003, Judge Gerald L. Goettel entered an order

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granting the plaintiffs’ motion to remand the case of Michelle Savalle and SDB Trucking,
= LLC v. Nestle Waters North America, Inc., No. 03-CV-1204, from the United States
: Disizvict Court for the District of Connecticut to the Superior Court of Connecticut,

Judicial District of Fairfield at Bridgeport. (A true and correct copy of Judge Goettel’s

 

' The actions in which these Plaintiffs are parties are: Monica Bliss-Weick v. Nestle
Waters North America, Inc., No. 03-61550 (S.D. Fla.}; Muire Cosgrove v. Nestle Waiters
North America, Inc., No. 03-CV-3421 (D.N.J.); Danicl Gaito v. Nestle Waters North
America, Inc., No. 03-CV-3422 (D.N.J.); Ticia Joseph v. Nestle Waters of North
America, Inc., No. 03-CV-61452 (S.D. Fla.);. Lisa McGonagle and Deborah Kuhn v.
Nestle Waters North America, Inc., No. CV 1:03-CV-11370-DPW (D.Mass.); sand ©
Michelle Savalle and SDB Trucking, LLC v. Nestle Waters North America, Ine., No,.93- im _

 

 

 

 

 

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remand order is attached hereto as Exhibit “A”). As a consequence, there is no longer an
action pending in the proposed transferee court.

b). On or about August 20, 2003, the Defendant entered into a “Class
Action Settlement Agreement” in a case pending in the Circuit Court for the Sixteenth
Judicial Circuit, Kane County, Iinois involving a purported nationwide class settlement
of all of the claims asserted by the Plaintiffs in the various cases that are the subject of the
Defendant’s Motion for Transfer. {A true and correct copy of the Defendant’s “Class
Action Settlement Agreement” is attached hereto as Exhrbit “B”).

c). On August 29, 2003, the Defendant removed the case of Deborah
Bagwell and Margaret Dunn v. Nesile Waters North America, Inc., No. CV 03-RRA-
2401-J, from the Circuit Court of Walker County, Alabama to the United States District
Court for the Northern District of Alabama. The case was assigned to Magistrate Judge
Robert R. Armstrong, Jr. and a motion to remand the Alabama action was filed by the
plaintiffs on September 2, 2003. It is anticipated that the Alabama action will be added
by the Defendant to those actions sought to be transferred and consolidated by this Panel.
The plaintiffs in the Alabama case are also represented by the undersigned counsel,
among others.

d). On August 25, 2003, pursuant to a motion by the Defendant, the
case of Monica Bliss-Weick v. Nestle Waters North America, Inc., No. 03-61550 (S.D.
Fla.) was reassigned to the docket of Judge William H. Hoeveler. Coincidentally, on

August 27, 2003, the plaintiff in the Bliss-Weick case moved for leave to dismiss that

case without prejudice.

 

 
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e). Timely filed motions to remand are currently pending in all of the
remaining actions, with the exception of Bhss-Weick. A hearing on the plaintiffs’
motion to remand 1s scheduled in the McGonagle case in the District of Massachusetts on
September 25, 2003. In all of the other removed cases, the parties and the courts are
waiting for the Defendant to file its response to the plaintiffs’ motions to remand.

f}. In all of the removed actions, the parties have agreed to postpone
the Defendant’s obligations under Rule 8 to answer or otherwise respond to the Plaintiffs’
complaints and to postpone the commencement of discovery, including the parties’
obligations under Rules 16 and 26, until after the District Courts rule on the pending
remand motions.

2. Although the Defendant has requested that all of the removed
actions be transferred and consolidated in order to avoid potentially inconsistent pretrial
rulings, the Defendant has not moved any of the proposed transferor District Courts to
stay or defer their consideration of the various pending motions to remand. See Moore v.

Wyeth-Ayerst Laboratories, 236 F.Supp.2d 509, 511 (D. Md. 2002) (“The Judicial Panel

 

on Multidistrict Litigation has held that a district court judge has the authority to either
wait for a transfer order without ruling on a motion to remand, or to rule on the motion
before a transfer order has been issued.”).

3. Although the Plaintiffs obviously contend that none of the
removed actions have been properly removed and that none of the removed actions fall
within the limited subject matter jurisdiction of the federal courts, should a significant

number of the proposed transferor District Courts deny the Plaintiffs’ motions to remand

and retain jurisdiction over their respective cases, the Plaintiffs do not oppose transfer

 
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and consolidation in a single federal forum. Similarly, the Plaintiffs do not object to the
Defendant’s suggestion of the District of Connecticut as the proposed transferee court.
The Plaintiffs contend, however, that the Defendant’s theory of removal is so specious
that this Panel should afford the respective proposed transferor District Courts the
opportunity to rule on the pending motions to remand.

4, The Plaintiffs are aware that this Panel may order a transfer and
consolidation pursuant to § 1407 despite a pending objection to the proposed transferor
court’s subject matter jurisdiction. See In re Ivy, 901 F.2d 7, 9 (2d Cir. 1990); In re
Adelphia Communications Corp. Securities & Derivative Litigation (No. II), No. MDL-
1529, 2003 WL 21749524, *1 Jud.Pan.Mult.Lit., July 23, 2003) (pending motions to
remand to state court can be presented to and decided by the transferee court); In re Ford
Motor Co. Crown Victoria Police Interceptor Products Liability Litigation, 229
F.Supp.2d 1377, 1378 (Jud.Pan.Mult.Lit. 2002) (‘We note that any pending motions to
remand these actions to their respective state courts can be presented to and decided by
the transferee judge.”); In re Enron Corp. Securities, Derivative & “ERISA” Litigation,
227 F.Supp.2d 1389, 1391 Gud.Pan.Mult.Lit. 2002) (“[R]emand and other motions, if not
resolved in the transferor court by the time of Section 1407 transfer, can be presented to
and decided by the transferee judge.”).

5. The Plaintiffs are also aware that this Panel has held that the
inherent time lag involved with transfer and consolidation under § 1407 affords most
transferor courts sufficient opportunity to rule on a pending motion to remand should the

court be so inclined. In In re Prudential Insurance Company of America Sales Practices

Litigation, 170 F.Supp.2d 1346, 1347-48 (Jud.Pan.Mult.Lit. 2001), the Panel observed:

 

 
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The plaintiff premises part of his opposition to transfer on
the pendency in his action of a motion to remand to state
court. He urges the Panel not to order transfer before the
motion is resolved by the transferor court. We note, first,
that remand motions can be presented to and decided by the
transferee judge. Furthermore, there is no need to delay
transfer in order to accommodate any interest of the
transferor court in resolving a pending remand motion. We
note that: 1) as a practical matter, there is a lag time of at
least three or four months from the filing of an action, its
identification as a potential tag-along action, issuance of a
conditional transfer order, stay of transfer when a party
timely objects to the conditional transfer, briefing on the
question of transfer, the Panel hearing session, and the
issuance of the Panel’s subsequent order; 2} Panel Rule 1.5,
R.P.J.P.M.L., 199 F.R.D. at 427, expressly provides that
the pendency of a conditional transfer order does not in any
way i) suspend orders and pretrial proceedings in the
district court in which the action that is the subject of the
conditional transfer order is pending, or ii) limit the pretrial
jurisdiction of that court; and 3) accordingly, those courts
wishing to address such motions have adequate time in
which to do so, those courts concluding that such issues
should be addressed by the transferee judge need not rule
on them, and the process of 1407 transfer ... can continue
without any unnecessary interruption or delay.

170 F.Supp.2d at 1347-48 (citations omitted). See also In re Asbestos Products Liability
Litigation, 170 F.Supp.2d 1348, 1349 n. 1 Gud.Pan.Mult.Lit. 2001) ([T]hose courts
wishing to address [motions to remand] have adequate time in which to do so, those
courts concluding that such issues should be addressed by the transferee judge need not
rule on them....”).

6. The Plaintiffs’ only concern is that their candid recognition of this
Panel’s prior decisions and their acquiescence in allowing the process to run its course

does not inadvertentiy shorten the normal “lag time of at least three or four months

involved in these proceedings. Each of the various District Courts currently have before

them the Plaintiffs’ motions to remand and are in the process of receiving the parties’

 

 
 

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briefs and arguments for and against the exercise of removal jurisdiction. It is
anticipated, particularly in light of Judge Goetell’s recent ruling, that each of the various
District Courts will have the opportunity to consider and rule on the Plaintiffs’ motions to
remand within the normal three to four month lag time.

7. The Defendant’s justification for transfer and consolidation is that
allowing the various cases to proceed in the various proposed transferor courts “involves
significant risk of conflicting or inconsistent pretrial rulings” (Defendant’s Motion for
Transfer at 9). As the Defendant’s motion concedes, however, “(t]he litigation in all the
pending actions is at its incipient stages. No discovery has been served or provided, no
motions have been filed and no hearings or conferences have been held or scheduled with
the exception of a motion to remand.” (Defendant’s Motion for Transfer at 14). At this
point, moreover, there is no immediate risk of “inconsistent pretrial rulings” or
“duplicative discovery requests” because the parties in each of the removed cases have
agreed to posipone the Defendant’s obligations under Fed.R.Civ.P. 8 to answer or
otherwise respond to the Plaintiffs’ complaints and to postpone discovery, including the
parties’ obligations under Fed.R.Civ.P. 16 and 26, until after the District Court rules on
the remand motion.

8. The Plaintiffs do contend, however, that the Defendant’s Motion
for Transfer in the present case involves an improper attempt to misuse 28 U.S.C. § 1407
by interfering with and delaying the prosecution of Plaintiffs’ state court claims and to
facilitate the consummation of a collusive and abusive class action settlement in Illinois

state court. See In re Highway Accident Near Rockville, Connecticut, on Dec. 30, 1972,

388 F.Supp. 574 Gud.Pan.Mult.Lit. 1975) (misuse of statute is consideration in transfer);

 
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In re Truck Accident Near Alamagordo, New Mexico on June 18, 1969, 387 F.Supp. 732
(Jud.Pan.Mult.Lit. 1969} (same). The misuse of the statute is illustrated by the following
facts and circumstances:

a). The Defendant has removed eight (8) cases from the state courts in
which they were filed based on the assertion that the cases implicated the various District
Courts’ federal question jurisdiction because the Plaintiffs’ claims involved a federal
question so substantial that only the federal courts could exercise jurisdiction over the
cases. The Detendant has vigorously opposed the Plaintiffs’ motions to remand based on
the argument that the present cases fall within the District Courts’ exclusive federal
question jurisdiction and that federal law preempts any possible state court involvement.
Indeed, the Defendant has argued that only the federal courts are authorized and qualified
to decide the issues of federal law presented by these cases.

b). Unbeknownst to the Plaintiffs, however, while the parties and the
various District Courts were wrestling with the remand issues, the Defendant was secretly
negotiating and entering into a “Class Action Settlkement Agreement” purporting to settle
the very claims being asserted by the Plaintiffs in the present cases.” Incredibly, despite
the Defendant’s position that the present case involved substantial and overriding
questions of federal law, the Defendant chose to try to settle these claims not in a federal
court, but in an [linois state court. In other words, at the very time that it was arguing to

a half dozen or so District Courts that the Plaintiffs had no right to bring and maintain

 

* Counsel for the Plaintiffs leamed about the purported settlement on September 2, 2003
when one of the Plaintiffs’ attorneys was contacted by the media. Plaintiffs’ counsel
obtained a copy of the “Class Action Settlement Agreement” by accessing
www.noticeclass.com/Spring WaterSettlement as directed in the class notice.

 

 

 
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their cases in state court, the Defendant was finalizing a settlement that vested in a state
court the full authority to settle and resolve these very claims. Despite arguing to these
District Courts that the state courts from which the various cases were removed were
incompetent to handle these “uniquely federal” claims, the Defendant was more than
content to submit itself and the plaintiffs’ claims to the jurisdiction of the state courts in
[ilinois.

c). Further, despite the fact that it was contesting remand in eight
different cases and asking this Panel to transfer all of these cases to the District of
Connecticut, the Defendant failed to disclose the pending Illinois state court case or the
existence of the purported settlement to any of the District Courts or to this Panel. Rules
7.2(i) and 7.5(e) of the Rules of Procedure of the Judicial Panel on Maultidistrict
Litigation require “any party or counsel” in actions being considered for transfer to
prompily notify the Clerk of the Panel of any potential “tag-along” actions “in which that
party is also named or in which that counsel appears.” Although it does not appear that
these Rules technically required the Defendant to notify this Panel of the Illinois state
court case because it was not pending in (nor, apparently, was it going to be removed to)
federal court, the Defendant’s failure to disclose the facts and circumstances surrounding
the proposed Illinois settlement would scem to violate the spirit of the Rules.

d). Even if not an express violation of this Panel’s Rules, the
Defendant and its counsel have an on-going ethical obligation to disclose to the various
District Courts and to this Panel that there is a pending State court action that the

Defendant have no intention of removing to federal court. At the very least, the

Defendant had an obligation to disclose to the various District Courts and to this Panel

 

 
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that tt had entered into a purported settlement of the very claims being asserted by the
Plaintiffs in the cases that it seeks to have transferred and consolidated. See Cleveland
Hair Clinic, Inc. v. Puig, 200 F.3d 1063, 1067 (7th Cir. 2000) (Attorney for defendants in
federal lawsuit had a duty to disclose a state lawsuit he had prepared and that was
simultaneously being filed in attempt to obtain records from the federal plaintiff after
federal district court denied motion for temporary restraining order seeking those records,
at hearing to decide whether the state plaintiff should be added as a party in the federal
case and whether to enjoin any state action. “Counsel have a continuing duty to inform
the Court of any development which may conceivably affect the outcome of the
litigation. The goal of the state lawsuit was to cut off the federal court at the pass, a
development that surely could have affected the outcome of the litigation pending in
federal court.”); see aiso BEM I, L.L.C. v. Anthropologie, Inc., 301 F.3d 548, 551 (7th
Cir. 2002) (“Lawyers also owe it to the judge and the opposing lawyer to avoid
subjecting them to the burdens of a lawsuit that they know or think may eventually be set
at naught, and have to be started over again in another court, because of a jurisdictional
problem of which the judge and the opposing lawyer may be unaware.”),; Burns _v.
Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir.1994) (TE]very lawyer is an officer of
the court. And, in addition to his duty of diligently researching his client’s case, he
always has a duty of candor to the tribunal.”); In re Universal Minerals, Inc., 755 F.2d
309 (3d Cir. 1985) (Counsel have a continuing duty to mfonn court of any development

which may conceivably affect outcome of litigation, even where new developments, new

facts, or recently announced law may be unfavorable to interests of the litigant); Seeds v.

 

 
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Lucero, 207 F.Supp.2d 1297, 1301 (D.N.M. 2002) (“While counsel has a duty to
zealously represent his clients, he has a higher duty of candor to this tribunal.”).

e). The Defendant has removed eight cases to various federal courts
around the country and asked that they all be consolidated in one District under the
theory that the federal courts are exclusively empowered to decide the claims asserted by
the plamtiffs. At the same time, however, the Defendant has declined to remove a
similar, if not identical, case pending in Illinois in order to try to settle these very claims
in a state court. The Defendant’s position, therefore, is that it has the option of litigating
these issues in state court, but the Plaintiffs do not.

f). It is apparent that the Defendant has used the removal of the
various cases and the proceedings before this Panel in any effort to hinder and delay the
Plaintiffs state court litigation. As then Justice Rehnquist observed:

The removal jurisdiction extended by Congress works a

significant interference in the conduct of litigation

commenced in state court. While Congress felt that making

available a federal foram in appropriate instances justifies

some such interruption and delay, it obviously thought it

equally important that when removal to a federal court is

not warranted the case should be returned to the state court

as expeditiously as possible. Lf this balanced concern is

disregarded, federal removal provisions may become a

device affording litigants a means of substantially

delaying justice.

Thermtron Products, Inc. v. Hermansdorfer, 423 U.S. 336, 354-55 (1976) (Rehnquist, J.,

 

dissenting)(emphasis added), abrogated by, Quackenbush v. Allstate Ins. Co., 517 U.S.

706 (1996)(cited with approval in Spielman v. Merrill Lyach, Pierce, Fenner & Smith,

 

Inc., 332 F.3d 116, 126 (2d Cir. 2003)).

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WHEREFORE, despite the Defendant’s apparent misuse of the removal
statutes and of 28 U.S.C. § 1407, the Plaintiffs do not oppose transfer and consolidation
of these actions in the United States District Court for the District of Connecticut so long
as the respective transferor courts are given a reasonable opportunity to consider and rule

on the Plaintifis’ pending motions to remand.

DATED: September 3, 2003

Lure Ak

Barry A. Raggdale U

 

 

 

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BEFORE THE JUDICIAL PANEL ON JUDICIAL &
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SEP ~ 4 2003
In re NESTLE WATERS NORTH §
AMERICA, INC. MARKETING CLERK'S OFFICE
LITIGATION §  MDLNo. 1569
PROOF OF SERVICE

I hereby verify under penalty of perjury that, on September 3, 2003, I
caused a true and correct copy of the “Consolidated Response To Motion For
Transfer” filed with the Clerk of the Judicial Panel on Multidistrict Litigation, to be
served on the attorneys reflected on the attached Panel Attommey Service List by placing a

copy of the same in the United States mail, properly addressed and first class postage

prepaid.

DATED: September 3, 2003

 

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Judicial Panel on Muitidistrict Litigation - Panel Attorney Service List Page 1

Docket: 1569 - tn re Nestle Waters North America, Inc., Marketing Litigation
Status: Pending on / /

Transferee District: Judge: Printed on 08/26/2003

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Note: Please refer to the report title page for complete report scope and key.

 

 
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09/03/03 WED i0:%¢as&@MDL No. 1569 Document 6 Filed 09/04/03 Page 15 of 59 Zoo2
) SEP-@3-2083 11:31 JUDGE GOETTEL P.aL

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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

m

MICHELE SAVALLE and SDB
TRUCKING, LLC, on behalf of
themselves and alli others
Similariy situated,

MEMORANDUM DECISION

3: 03 CV 1204 (GLG)

Plaintiffs,

ac #4 fe oR ae

~against-

NESTLE WATERS NORTH AMERICA, INC.,

Defendant. :
—_——— a a ee ee ee ee x

The plaintiffs move te remand [Deca. $ 8] this action to the
Superior Court of Connecticut from which it was removed by the
defendant. The defendant's removal notice claims the existence
of a federal question pursuant to 28 U.S.C. § 1331. The statute
itself creates no right of action. Rather, the presence of
federal question jurisdiction is governed by the "wall pleaded
complaint" rule. Merreli Po armaceuticals Tne. The ’
478 U.S. 804, 808 (1986). "To determine whether the claim arises
under federal law, we examine the 'well pleaded’ allegations of
the complaint and ignore potential defenses: ‘a suit arises under
the Constitution and laws of the United States only where the
plaintiff's statement of his own cause of action shows that it is
based wpon those laws or that Censtitution.'" Beneficial Nat'i
Bank vy. Anderson, — U.S. —, 123 S. Ct. 2058, 2062 (2003) {quoting
Lovisville & Nashville R. Co. v. Mottiey, 211 U.S. 149, 152

(1908)}.

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—A3-PAAS 11:34 JUDGE GOETTEL P.@2

The plaintiffs' complaint seeks relief concerning the
defendant’s bottling, advertising, promotion, and sale of Poland
Spring brand bottled water. The plaintiffs assert claims for
violations of Connecticut's Unfair Trade Practices Act ("CUTPA"),
Conn. Gen. Stat. §§ 42-110a et seg., Connecticut's Consumer
Protection Act, Conn. Gen. Stat. § 21a-150¢g {governing
information displayed on bottled water packages}, violations of
the unfair trade practices statutes of forty~three (43) other
states, and unjust enrichment under state law. Thus, as alleged
in the complaint, al] of the plaintiffs' claims arise out of and
are based solely on state law. It is beyond dispute that their
complaint dees not affirmatively allege a federal claim. Indeed,
their complaint does not rely on or even refer to any federal law
or statute.

The defendant argues that an essential element of the
plaintiffs’ claims is whether the Poland Spring brand of bottled
water meets the standard of identity for “spring water,” which is
determined by federal law, specifically the Federal Food, Brug
and Cosmetic Act, 21 0.5.C. §§ 301-397 (‘EDCA"), and the
regulations adepted thereunder, 21 C.F.R. § 165.110 (a) (2) (vi).
“Plaintiffs' complaint presents a substantial question of federal
law which they artfully plead as a state law cause of action."

(Def.'s Removal Notice { 4.}

As both Sides recognize, an “independent corollary to the

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well-pleaded complaint rule is the further principal that a
plaintiff may not defeat removal by omitting toe plead necessary
federal questions." Rivet wv. ions Bank of Lovisiana, 522 U.S.
470, 475 (1998) (citations and internal quotations omitted}.

This corollary, known as the "artful pleading doctrine,” allows
federal courts to exercise jurisdiction even when a federal claim
does not appear on the face of the complaint if (1) federal law
has completely preempted the state law that serves as the hasis
for the plaintiff's complaint,’ see Aveco Corp. v co Lo O.
735, 390 U.S. 557 (1968); Metropolitan Life Ins. Co. v. Tavioz,
481 U.S. 58 (1987); or (2} the plaintiff's right to relief
necessarily depends on the resolution of a substantial question
of federal law. See Franchise Tax Board v. Construction Laborers
Vacation Trust, 463 U.S. 1, 9 (1983); see generally Moore's
Federal Practice § 107.14[4][a] (3d ed. 2003); Wright, Miller &
Cooper deral Practice and Procedure: Jurisdiction § 3722 (3d
ed. 1998). In this case, the defendant does not argue complete
federal preemption. Rather, it asserts that the plaintifis'
state-law claims present a “substantial question of federal law."

The plaintiffs respond that the use of a federal statute as an

 

l The "complete pre-emption corollary to the well-pleaded
complaint rule,” provides “that any claim based on preempted
state law is considered a federal claim arising under federal
law." Vera v. Saks & Co., 335 F.3d 103, 113-14 (2d Cir. 2003)
tinteynal citations omitted) (applying this corollary to state-
law claims preempted by the Labor Management Relations Act, 29
U.S.C. § 185).

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element af their state-law causas of action is insufficient to

justify removal, citing Merrell Dow Pharmaceuticals (holding that

the incorporation of a federal standard in a state-law private
action, when no cause of action exists for violations of that
federal standard, does not make the action one “arising under the
Constitution, laws, or treaties of the United States").

In this case, the federal statute on which the defendant
relies, the FDCA, does not provide a private right of action.

This factor was significant to the majority's holding in Merrei}

Dow Pharmaceuticals.

The significance of the necessary assumption
that there is no federal private cause of
action funder the FDCA] cannot be overstated.
For the ultimate import of such a conclusion,
as we have repeatedly emphasized, is that it
would flout congressional intent to provide a
private federal remedy for the violation of
the federal statute. We think it would
Similarly flont, or at least undermine,
congressional intent to conclude that the
federal courts might nevertheless exercise
faderai-question jurisdiction and provide
remedies for violations of that federal
statute solely becavse the violation of the
federal statute is said to be a "rebuttable
presumption" or a "proximate cause" under
State law, rather than a federal action under
federal law.

478 U.S. at 812 {footnote omitted). The Court concluded that
"the congressional determination that there should be no federal
remedy for the violation of this federal statute is tantamount to
a congressional conclusion that the presence of a claimed

violation of the statute as an ¢lement of a state cause of action

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SEP-@3-P883 11:33 _ SURGE GOETTEL "PBS
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4s insufficiently ‘substantial’ to confer federal-question

jurisdiction." Id. at 814; see also Loussides v. America Online,

inc., 175 ©. Supp. 2d 211, 214 (D. Gonn. 2001) (holding that when

 

4 complaint alleges a violation of a federal statute as an
element of a state cause of action, but there is no Private,
federal cause of action for the violation, the presence of the
claimed violation is insufficient to confer jurisdiction};
Jackson v. Purdye Pharma Co., No. 6:02-CV-14280RL12KRS, 2003 AL
21356783, at *6 (M.D. Pla. Apr, il, 20033 {holding that, in order
to prevail under the substantial federal question doctrine, the
defendants would have to show that the FoCA created the rights
that the plaintiff sought to vindicate and a private cause of
action to enferce such rights); Campbell y. SmithKline Beecham,
919 F. Supp. 173, 176 (£.D. Pa. 1996) (holding that no
“substantial, disputed question of federal law" May exist when
the federal law in question may not be enforced in a private
cause of action).

fhe defendant here, like the petitioner in Merrell Dow
Pharmaceuticals, also arques that the strong federal interesr in
insuring uniform interpretation of federal statutes and
regulations is best served by review of this case in the federal
courts. In rejecting a similar argument, the Supreme Court noted
that concern about the uniformity of interpretation of the FDCA

was “considerably mitigated" by the fact that it retained the

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EP-23-20g3 11733 JUDGE GOETTEL P. as

power to review the decision of a federal issue in a state cause
of action, even if there was no original district court
jurisdiction. 478 U.S. at 816.

We find controlling the decision of the Supreme Court in
Merrel) Dow Pharmaceuticals. in that Case, a5 here, the federal
Statute was merely incorporated as a standard of conduct in a

state Cause of action, See West 14th st. Commercial Corp. v. 5

West 14th Owners Corp., 815 F.2d 188, 196 iZd Cir.), cert.

 

denied, 484 U.S. 850 (1987). Borrowing or importing a standard

from a federal statute or regulation dees not make a state cause
of action removable. "The mere presence of a federal issue in a
State cause of action does not automatically confer federa}-—

question jurisdiction." Merrell Dow Pharmaceuticals, 478 U.S. at

813.

The burden was on the defendant to establish federal-
question jurisdiction. The defendant has failed to carry that
burden. Consequently, we hold that the removal of the action was
improvident and improper. Pursuant to 28 U.S.C. § 1447(c}, this
case is remanded to the Superior Court of Connecticut, Judicial
District of Fairfield at Bridgeport.

SO ORDERED.

Dated: August 77, 2003.

Waterbury, Connecticut. 5 ZL 4 ps

GERARD L. GOETTEL,
United States Bistrict Judge

 

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IN THE CIRCUIT COURT FOR THE SIXTEENTH JUDICIAL
CIRCUIT COURT, KANE COUNTY, ILLINOIS

KENNETH RAMSEY,
on behalf of himself and all others similarly

 

)
}
situated, }
)
Plaintiff, }
)
v. } Case No. 03 CHK 817
)
NESTLE WATERS NORTH AMERICA INC.., ) Judge Michael J. Colwell
dibia POLAND SPRING WATER CO., }
Defendant. Dated: August 20, 2003

CLASS ACTION SETTLEMENT AGREEMENT
BETWEEN PLAINTIFF AND NESTLE WATERS NORTH AMERICA, INC. d/b/a
POLAND SPRING WATER CO.

THIS CLASS ACTION SETTLEMENT AGREEMENT (“Agreement”), dated as of
August 20, 2003 is entered into by KENNETH RAMSEY, the Class Plaintiff, individually on

behalf of himself and the Seitlement Class, and Defendant NESTLE WATERS NORTH

AMERICA INC. d/b/a POLAND SPRING WATER CO. (hereinafter “DEFENDANT"}, each
through their counsel of record in the Action (as defined below}, and subject to the approval

of the Court to fully setife the Action and release all claims on the terms and conditions set

forth below.

i. BACKGROUND AND DESCRIPTION OF THE ACTION
1.1. On July 29, 2003, KENNETH RAMSEY commenced a nationwide class action

lawsuit on behalf of himself and all other similarly situated purchasers and consumers of

Poland Spring brand of bottled water and/or Poland Spring brand of spring water products

 

 
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(hereinafter referred to collectively as “Poland Spring Water”) entitled Kenneth Ramsey, on
behalf of himself and ail others similarly situated v. Poland Spring Water Co., and Nestie
Waters North America Inc., Case No. 03 CHK 817 (Kane County, illinois}.

1.2 Plainiiff's complaint alleges numerous statutory and common law violations
including: common law fraud; statutory fraud; Connecticut Unfair Trade Practices Act,
Ilinois Consumer Fraud and Deceptive Trade Practices Act and other similar state
consumer protection laws and unfair and deceptive practices acis, including, but not limited
to New Jersey, Massachusetts, Florida and Alabama; unjust enrichment; breach of implied
warranty of good faith and fair dealing; and breach of contract. The complaint alleges that
the labeling and advertising of the Poland Spring Water is false, misleading, or potentially
misleading in that the products allegedly are not: (1) “spring water’ as defined by the Food
& Drug Administration standard of identity codified at 21 C.F.R. §165.110 and/or any
applicable toca! and state regulations defining what constitutes “spring water’; (2) from the
geographic or geologic sources as represented; and (3) as pure and healthful as
represented. The complaint seeks restitution, compensatory and punitive damages,
disgorgement of profits, injunctive relief, attorney fees and costs.

1.3. Throughout the litigation, Plaintiff and Defendant have met from time to time
to discuss setilement. During the summer of 2003, Plaintiff and Defendant met numerous
times and communicated frequently regarding setilement. Plaintiff and Defendant agreed
to facilitate a possible settlement by proceeding io mediation in July.

1.3.1 During the iast two weeks of July and August, 2003, Plaintiff and Defendant

negotiated this Agreement (effective as of August 20, 2003}. Plaintiff propounded

extensive and deiailed interrogatories and requests for production of documenis on

 
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Defendant. Defendant made appropriate responses to both Plaintiff's interrogatories and
requesis for production of decuments.

1.3.2 On July 30, 2003, Plaintiff communicated to Defendants a structure for
settiement which included a proposal for injunctive relief, i.e., monitoring of spring sites,
and a proposai for monetary relief.

1.3.3 On August 1, 2003, Defendants responded to Plaintiffs’ injunctive relief
proposal and presented a detailed monitoring plan for Defendants’ Spring Sources.

1.3.4 On August 5”, 6" and 7", Plaintiff and Class Counsel conducted inspections
of all Defendants’ spring sites and its Maine plants. Plaintiff and Class Counsel atso
interviewed numerous employees of Defendants, including but not limited to, the vice-
president of Corporate Affairs, the Group Marketing Manager, the Director of Supply Chain,
the Natural Resource Manager, the Community Relations Manager, the Director of Health
and Environmental Affairs, hydrogeclogists, plant managers, and water treatment and
bottling plant employees. Defendant made said individuals available for an unlimited period
of time and permitted extensive evaluation, questioning, cross-examination and
examination of said individuals by both Plaintiff and Defense counsel.

1.3.5 Both parties consulted experts, and elicited expert opinions regarding the
underlying facts in dispute. For settlement purposes only, both parties reviewed, disclosed
and made available to one another expert opinions, reports and studies.

1.3.6 On August 7, 2003, Plaintiff made a reply proposal for injunctive relief and

monetary damages. On August 11, 2003, Defendants made another response proposal to

Plaintiff and Piaintiff responded.

1.3.7 Also on August 17, 2003, Piaintiff filed his Amended Class Action Complaint.

 
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1.3.8 On August 13, 2003, Plaintiff and Defendant agreed on monetary relief and
Defendant communicated anoiher offer regarding injunctive relief.
1.3.9 On August 14, 2003, Piaintiff responded to Defendanis offer relating to

injunctive relief and proposed several substantive changes.

1.3.10 On August 15, 2003, Defendant provided Plaintiff with a response and

proposed changes.

1.3.11 On August 18, 2003, Plaintiff and Defendant agreed to all substantive

provisions of the Settlement Agreement.

1.3.12 On August 20, 2003, Plaintiff and Defendant entered into and executed this
Seitlament Agreement.

1.3.13 Fram July 31, 2003 to August 18, 2003, Defendant produced numerous
documents and information for purposes of settlement only, including but not limited to,
information related to spring sites, spring site monitoring, financial data regarding its sales
and revenues, and agreed that Plaintiff could make such data available to Plaintiffs
forensic economist.

1.3.14 On August 8, 2003, the Honorable Charles B. Renfrew (retired federal court
judge) was contacted to discuss issues reiated to the ongoing settlement discussions and
to determine whether Judge Renfrew would be interested in being designated as the
“arbitrator” and/or “mediator” for purposes of post-settlement dispute resolution. Judge
Renfrew was jointly selected by the parties as “arbitrator” and/or “mediator” due to his
knowledge and expertise related to spring water litigation and his involvement in a nearly

identical Jawsuit (against the same Defendant) related to two other of Defendant's brands,

entitled Tara Fields, et. al. v. Great Spring Waters of America, Inc. d/b/a Arrowhead

 

 
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Mountain Spring Water Co., ef. al. Case No. 302774 (Superior Court for the County of San
Francisco, State of California}. On August 8, 2003, Judge Renfrew agreed to be
designated as “arbitrator” and/or “mediator” in the event the parties were to reach a
settlement of this matter.

1.3.15 The substantive terms of this Settlement Agreement were finalized on August
48, 2003 and this Agreement was fully executed on August 20, 2003.

1.4 This Agreement is the preduct of extensive investigation, settlement
negotiations and mediation. Both class counsel and defense counsel have made a
thorough analysis of the facts and law applicable to the claims asserted in this action.
During the pendency of the action, both parties have engaged in substantial discovery.

1.5 Asset forth in greater detail below, the parties have determined that they
wish to reach an amicable resolution to the pending action.

NOW, THEREFORE, itis hereby stipulated and agreed by the Class Representative
and the Defendant, and through their respective counsel, that subject to the approval of the

Court, the Action and the Released Claims shall be finally and fully settled on the terms and
conditions set forth in this Agreement.

2. DEFINITIONS

The following terms shall have the meanings set forth below:
2.1 “Action” means the putative class action now pending against Defendant in
the Sixteenth Judicial Circuit Court, Kane County, Illinois entitled Kenneth Ramsey, on

behalf of himself and ail others similarly situated v. Poland Spring Water Co., and Nestle

Waters North America Inc., Case No. 03 CHK 817 (Kane County, Illinois) amended (August

 

 
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11, 2003) Kenneth Ramsey, on behalf of himself and all others similarly situated v. Nestle

Waters of North America Inc. d/b/a Poland Spring Water Co.

2.2 “Agreement” means this Final Class Action Settlement Agreement, including
all Exhibits.

2.3 “Class Counsel” means Attorney Robert M. Foote, Esq. of FOOTE, MEYERS,
MIELKE & FLOWERS, LLC and Attorney Kathieen C. Chavez, Esq. of the CHAVEZ LAW
FIRM.

24 “Class Representative” means KENNETH RAMSEY, both individually, and in
his capacity as class representative for the putative class against Defendant, and in his
capacity as class representative for the Settlement Class as provided for in paragraph 8.1.

2.5 “Complaint” means the Complaints filed in this Action against Defendant.

26 “Counsel for Defendant” means the law firms of Orloff, Lowenbach, Stifelman

& Siegel, P_A. and Fareila Braun & Martel LLP.

2.7 “Court” means the Circuit Court for the Sixteenth Judicial Circuit, Kane

Couniy, Illinois.

2.8 “Defendant” means NESTLE WATERS NORTH AMERICA INC. d/b/a

POLAND SPRING WATER CO.
2.9 “Effective Date” means the first date by which ail the events and
conditions specified in paragraph 13 of this Agreement have been met and have

occurred.

2.10 “Final Judgment” means the Final Judgment and Order of Dismissal of the

Class Action provided for in paragraphs 10.1 through 10.12.

 
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2.11 “Notice of Proposed Settlement” means the Notice of Pendency and
Proposed Setilement Class Action and Settlement Hearing provided for in paragraph 9.8.

2.12 “Parties” means ihe Class Representative, on behalf of himself, and members
of the Settlement Class, and the Defendant.

2.143 “Person” means a natural person, individual, corporation, association,
partnership, trust, and any other type of legal business entity and their spouses, heirs,
predecessors, successors, representatives or assignees.

2.14 “Preliminary Order” means the order certifying the Settlement Ciass,

approving the Notice of Proposed Seitlement, and setting the Finai Settlement Hearing, as

provided for in paragraphs 9.1 through 9.16.

2.15 “Related Persons” means the Defendani’s past or present directors, officers,
employees, partnerships and partners, principals, agents, controlling shareholders, any
entity in which the Defendant has a controlling interest, or which directly or indirectly has a
controlling interest in Defendant, aitorneys, accountants, auditors, advisors, experts,
consuliants, insurers, co-insurers and reinsurers, predecessors, successors, partners,
subsidiaries, divisions, assigns, joint ventures and joint venturers, relaied or affiliated
entities, individuals or entities who are landowners from whom Defendant has obiained
waiter, suppliers of bulk water, and all others aciing in concert with Defendant.

2.16 “Released Claims” means without limitation any and all claims, actions,
demands, rights, liabilities, suits, causes of action, (including, but not limited to, all causes
of action for unjust enrichment, constructive trust, breach of contract, fraud,

misrepresentation, suppression, concealment, breach of warranty, violation of any state or

federal consumer protection or unfair trade practices statutes, including, but not limited to,

 

 
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the lilinois Consumer Fraud Act, the Connecticut Unfair Trade Practices Act, the
Massachusetts general law G.93A, the New Jersey Consumer Fraud Act, the Florida
Deceptive and Unfair Trade Practices Act, and the Alabama Deceptive Trade Practices and
Consumer Protection Act), claims for damages, claims for injunctive relief, claims for
disgorgement of monies, claims for declaratory relief, claims for equitable relief, of every
nature and description whatsoever, including Unknown Claims, as defined below, that
were asserted or that could or might have been asserted in any pleading or amended
pleading by, or on behalf of the Class Representatives or Settlement Class, or by any of the
other Setilement Class Members against Defendant or its Related Persons, based upon,
arising from, or related to the facts alleged in such pleadings, including, but not itmited to:
(1) the labeling and advertising of Poland Spring brand bottled water products as stating or
implying that the water is “spring water” or “naturai”; (2) the labeling and advertising of
Poland Spring brand bottled water products as stating or implying that the water comes
from sources “deep in the woods of Maine” and/or are “exceptionally well-protected by
nature"; (3) the labeling and advertising of Poland Spring brand bottled water products as
stating or implying that the water comes from, in or near the town of Poland, Maine; (4) the
labeling or advertising of Poland Spring brand bottled water products as stating or implying
that the water is more pure or healthful by virtue of being spring water, than it actuaily is; (5)
the labeling or advertising of Poland Spring brand bottled water producis as stating or
implying that it comes from the same aquifer or spring as the original Poland Spring waiter
source that existed in 1845; and/or (6) the facts, transactions, events, occurrences,

disclosures, statements, acts or omissions or failures to act which were or could have been

alleged in the Action or in any similar action based upon the same facts.

 

 
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2.17 “Released Persons” means Nestle Waters Norih America, Inc. d/b/a Poland
Spring Water Co., Poland Spring Water Co., and all Related Persons.

2.18 “Releasor’ means, without limitation, the Plaintiff, and each and all of the
Settlement Class Members whose claims are released pursuant to Section 11 of this
Agreemeni.

2.19 “Setilement Class’ means:

“Ail persons and/or entities who have purchased and/or consumed Poland
Spring brand of bottled water and/or Poland Spring brand of spring water
products within the United States of America any time during the period
January 1, 1996 to the present. Excluded from the class are Defendants,
their subsidiaries and affiliates, and any officers and directors thereof, as well
as any judge presiding over this action, the judge’s spouse and immediate
family.”

2.20 “Settiement Class Member’ means a person who fits within the definition of
Settlement Class (and that person’s attorneys, legal representatives, successors, spouses,
heirs, executors, administrators, and assigns who are acting on behalf of that person).

2.21 “Seitlement Hearing” means the hearing or hearings to determine: (4)
whether the setttement of the Action should be approved as fair, reasonable and adequate;
(2) whether a Final Judgment as provided in Section 10 of this Agreement should be
entered; (3) whether a final order certifying the Settiement Class should be approved; and
(4) whether the application of Class Counsel for an award of atiorneys’ fees, cosis, and

expenses pursuant to Section 12 of this Agreement should be approved, as provided for in

paragraph 9.9.

 

 
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2.22 “Setiling Parties” means, collectively, the Defendant and the Class
Representatives on behalf of themselves and Setilement Class Members.

2.23 “Unknown Ciaims” means any Claims which any Class Representative or
Settlement Class Member does not know or suspect to exisi in his, her or its favor at the
time of the release which, if known by him, her or it, might have affected his, her or iis
settiement with and release of the Released Persons, or might have affected his, her or its
decision not to object to this Agreement. With respect io any and all Released Claims
against the Released Persons, the Parties stipulate and agree that, the Class
Representative shall expressiy waive and relinquish, and the other Seitlement Class
Members shall be deemed to have, and by operation of the Judgment shall have, expressly
waived and relinquished, to the fuliest extent permitted by law any claim that was or could
have been alleged within Plaintiffs Class Action Complaint. The Class Representative and
the other Settlement Class Members may hereafter discover facts in addition io or different
from those which he, she or it now knows or believes to be true with respect to the
Released Claims, but hereby stipulate and agree that upon the entry of the Finai Judgment
and Order of Dismissal, the Class Representative fully, finally and forever settles and
releases, and each other Settlement Class Member shali be deemed to, and by operation
of the Judgment shall have, fuily, finally, and forever settled and released any and all
Released Claims against the Released Persons, known or unknown, suspected or
unsuspected, contingent or non-coniingent, whether or not concealed or hidden which now
exist, or heretofore have existed, upon any theory of law or equity now existing or coming
into existence in the future, including but not limited to, conduct which is negligent,

intentional, with or without malice, or a breach of any duty, iaw or rule, without regard to the

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subsequent discovery or existence of such different or additional facts. The Settling Parties

acknowledge that the foregoing waiver was bargained for and is a material element of the

Agreement.
3. BENEFITS OF THE SETTLEMENT

3.1 Class Counsel have made a thorough investigation cf the facts and
circumstances surrounding the ailegations made in the Complaint. Class Counsel have
engaged in extensive investigation and discovery of the claims underlying this Action,
including propounding documeni requests and interrogaiories, taking extensive interviews
and examination/cross-examination of Defendant empioyees, taking extensive interviews
and examination/cross-examination of potential witnesses, providing and receiving expert
disclosures and reports, and making extensive spring stte, plant, property and
bottling/shipping facility inspections.

3.2 Inthe course of discovery, plaintiff conducted site investigations of ali Poland
Spring sites, investigated and evaluated the geology of the sites and their surroundings in
ihe State of Maine, many of which are located in remoie areas. Piaintiff’s investigation
included reviews of professional literature and information concerning the geology,
hydrogeology and topography of the site locations. Piainiiff also reviewed tests to assess
water characteristics and chemicai consistency and performed analyses of the results of
the chemical breakdown of the water samples.

3.3. Class Counsel have reviewed and analyzed publicly available information and
investigated ihe jaw applicable to their claims and to the defenses raised by Defendant.
Class Counsel has also extensively reviewed, analyzed, compared and contrasted the

instant action with the facts, iaw and resolution of a recently setiled class action case

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against the same Defendant, alleging nearly identical claims, related to two other of
Defendant’s brands of spring water commonly known as “Arrowhead Brand Mountain
Spring Water” and “Calistoga Brand Mountain Spring Water’.

3.4 Class Counsel believe that itis in the best interest of the Class Members that
this Action be settled on the ierms and conditions set forth in this Agreement. Class
Counsel reached that conclusion after evaluating the factual and legal issues in the Action,
the benefits ihat the Settlement Class Members will receive as a result of the Action, and
the risks and uncertainties of continued litigation, the expense that would be necessary to
prosecute the Action through trial and through any appeals that might be taken, and the
likelihood of success at trial.

4. NO ADMISSION OF WRONGDOING AND LIABILITY

4.1 Neither this Agreement, nor any of its terms and provisions, nor the Final
Judgment and Order of Dismissal, shall constitute an admission by the Defendant of any
fiability or wrongdoing whaisoever, nor is this Agreement a finding of the validity or invalidity
of any allegations in the Complaint or of any of the Released Claims or a finding of any
wrongdoing by the Defendant. Neither this Agreement nor the Final Judgment shall be
used or construed as an admission, concession, or presumption or inference of any fault,
liability or wrongdoing by any Person. Neither the Final Judgment, this Agreement, the fact
of setilement and the settlement proceedings, nor the settlement negotiations, nor any
related documents or facts, shall be offered or received in evidence against any Party for
any purpose in any proceeding other than (i) in such proceedings as may be necessary to

consummate or enforce this Agreement, or {ii} in any action against or by the Released

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Persons, or any of them, to support a defense of res judicata, collateral estoppel, release,
or other theory of claim preclusion, issue preclusion, or similar defense.

5. MONETARY RELIEF

5.1 The Parties agree that it is not practicable to attempt to identify and locate
each consumer who consumed and/or purchased Poland Spring brand bottled water and/or
Poland Spring brand bottled water products during the class period or to determine how
much of the products each consumer purchased. The monetary relief in this case is

therefore to be distributed as a fluid recovery fund, or under the doctrine of cy pres, but only

as expressly set forth herein.

5.2 Defendant shail make total charitable donations in the amount of two million
seven hundred and fifty thousand dollars ($2,750,000.00) in equal instalments over a
periad of five years, running from the Effective Date. Defendant shalt make said charitable
donations in the amount of five hundred and fiity thousand dollars ($550,000.00) per year
for five years, running from the Effective Daie of this Agreement. These donations can be
made in money or in kind. If donations are made in kind by contributions of water products,
the value of the donation for purposes of this section shall be the average retail price of the
products as determined by independent industry reports or similar information. if Class
Counsel objects to the value claimed by Defendant, the value of any in kind donation shafi
be made by Judge Charles Renfrew.

5.3 The charitable donations identified in paragraph 5.2 shail be made to any
U.S. charitable, educational, governmental or non-profit organization that promotes or
engages in disaster relief (e.g., American Red Cross), watershed protection/environmenial

conservation (e.g., Sierra Club/Nature Conservancy), or human health/community support

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(e.g., American Heart Association). Upon request, but no more frequently than on an
annual basis, Defendant shall report such donations to plaintiffs’ counsel.
5.3.1 Each year, Plaintiff shall designate, consistent with paragraph 9.3, one or

more organizations to receive twenty-five percent (25%) of the charitable donations

described in paragraph 5.2. Each year, Defendant shall designate, consistent with

paragraph 5.3, one or more organizations to receive seventy-five percent (75%) of the
charitable donations described in paragraph 5. 2. Both parties shall notify each other and
Judge Renfrew of those designations and allocations within 120 days of the Effective Date
and thereafter, annually on or before the anniversary of the Effective Date. Each party shall
have a period of 10 days to object to this designation. If either party desires to modify the
designations after the designation period provided for in this paragraph, said party shall
notify the other party and Judge Renfrew of its desire fo do so and the other party shail
have a period of 10 days to object to this proposed modification. Any disputes regarding
the designation of charitable organizations shalt be submitted to Judge Renfrew or his
successor in accordance with the procedures set forth in paragraph 14.4, and Judge
Renfrew shall have complete authority to decide all issues regarding the designations
provided for in this paragraph.

5.4 Defendant shail provide to consumers, in the manner provided in this section,
product discounts on Poland Spring Water products from its then current list price for direct
sales to consumers, or provide directly to consumers product discount coupons, which may
include, among other things, “point-of-sale” coupons. The cumulative face value of these
discounts or coupons over the five year period shall total eight million fifty thousand doltars

($8,050,000.00), or one million six hundred and ten thousand dollars ($1,610,000.00) per

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year for five years running from the Eifective Date. Defendant agrees that ifthe cumulative
annual redemption amount is less than four hundred thousand dollars ($400,000.00) per
year for each year of the five year period, then Defendant shall make additional donations
io the organizations specified in Section 5.3 of this Agreement in the amount of the
difference between four hundred thousand dollars ($400,000.00) per year and the actual
amount of redeemed coupons and discounts obiained. Any mail-in coupon or rebate shalt

not be considered as part of these requirements unless redeemed.

5.4.1 Defendant may offer consumers who receive home or office delivery of

Poland Spring Water products discount coupons which shall be the greater of ten percent

(10%) of the retail value of the product or fifiy cents (50¢);

54.2 Defendant may offer consumers who receive home or office delivery of

Poland Spring Water products free spring water products;

5.4.3 Defendant may offer consumers who receive home or office delivery of

Poland Spring Waiter products discounts on invoices;

5.4.4 Defendant may distribute to consumers discount coupons for Poland Spring

Water products which shali be the greater of ten percent (10%) of ihe retail value of the

product or twenty-five cents (25¢);

5.4.5 Defendant may offer to consumers at retail establishments discount coupons
on Poland Spring Water products in an amount which shall be the greater of ten percent

(10%) of the retail vatue of the product or twenty-five cents (25¢);

5.4.6 Defendant may offer to consumers a iree product sample with the purchase of

Poiand Spring Water products (e.g., buy five bottles and receive one additional bottle for no

additional cost); or

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5.4.7 Defendant will offer no less than ten percent (10%) of the product discounts
described in paragraph 5.4 to consumers who purchase Poland Spring Water products
from retail establishments. Defendants will provide to class members who are currently
receiving home and office delivery of Poland Spring Water products a product coupon,

discount, and/or free product sample within one (1) year of the Effective Date of this

Agreement.

5.5 Thedonations and product discounts or coupons described in paragraphs 5.1
through 5.4 are the only monetary relief Defendant shall pay or cause to be paid in
connection with the settlement of the Released Claims other than to satisfy an award of

attorneys fees, costs and expenses as provided for in Section 12, below.

6. DEFENDANT’S CONTINUED USE OF THE TERM “SPRING WATER” AND
USE OF SPRING WATER DERIVED FROM ITS CURRENT SPRING SOURCES

6.1 Plaintiff acknowledges that Defendant currenily includes on its Poland Spring
Water product labeis the identity and location of the sources that provide the spring water.
Defendant agrees to continue providing information regarding identity and location of spring

water sources on its labeling for a period of five (5) years from the effective date of this

Agreement.

6.2 The Parties agree that Defendant shail be permitted to continue to botile,
label and sell Poland Spring brand bottied water as “spring water” using all of the spring
water sources it has used since January 1, 1996. Nothing in this Settlement Agreement
shall require that Defendant relabel its Poland Spring brand spring water products as
anything other than spring water or alter its spring water advertising in any way with respect

io the spring water sources it has used since January 1, 1996.

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6.3 Defendant agrees that for a period of five (5) years from the Effective Daie, it
will not extract water from its Poland Spring facility that exceeds 350 miition galions per
year, which amount is less than the amount set forth in the permit issued by the State of
Maine.

6.4 Defendant agrees that over the next five (5) years, it will acquire new spring
sources by purchase, lease or water contract within the state of Maine to meet increasing
production demands of its Poland Spring Water.

6.5 Defendant agrees that it has not and will not for a period of five (5) years

from the Effective Date obtain water from any source outside of the state of Maine for its

Poland Spring brand bottled water products.

6.6 Defendant agrees that for a period of five (5) years from the Effective Daie, to
notify Class Counsel and Judge Renfrew of any de-certifications, investigations and/or
failure to meet the requiremenis for certification of “spring water” by any local, state or

federal government.

7. LONG TERM MONITORING

7.1. Asacondition of the settlement of this Action, Defendant will increase its long
term monitoring of all of its spring water resources in Maine. The long term monitoring
requirements set forth in this section go beyond that which is required by local, state and/or

federal law, and thus provide additional protection for consumers.
7.2 Defendant shalt monitor springs and accept or reject water as provided in

this section for a period of five (5) years commencing irom the Effective Daie of this

Agreement. “Reject” shall mean not using rejected water in Defendant's spring waiter

products.

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7.3. Monitoring of source water turbidity by plants. Defendant shali Reject
water in the following circumstances. Defendant shall monitor and record iurbidity levels for
each tanker load received from the Garden Spring (in Poland, Maine) or Pure
Mountain/Evergreen Spring (in Fryeburg, Maine) spring water sources. Turbidity shall be
measured by taking a sample from each tanker load and delivering that sample to the
bottling plant’s quality control laboratory on-site for analysis. The turbidity shall be
measured and recorded in a database. Defendant shall obtain data jor at ieast ninety
percent (90%) of ail incoming tanker loads as measured on an annual basis. These

records shall be available for inspection by Judge Renfrew or a represeniative of plaintiffs

on request but not more frequently than quarterly.

4 Criteria for “rejecting” source water by plants. Where the turbidity levels
exceed 1.0 nephelometric turbidity units (NTU), and the average turbidity for a four tanker
load average is greater than the average turbidity for the previous day by twenty five
percent (25%) (plus or minus), subsequent loads will be rejected until the turbidity falls
below 1.0 nephelomeiric turbidity units (NTU). For example, where the average turbidity on
a day exceeds 1.0 NTU, and four consecutive loads from a source have an average
turbidity greater or less than the previous day’s average turbidity by twenty jive percent
(25%) (e.g., day 1 average = 1.1 NTU and four loads on day 2 average = 1.28 NTU),
Defendant would Reject ail loads from that source until the turbidity falls below 1.0 NTU,
subject to paragraphs 7.5 and 7.6 below.

7.5 Requirement of correlation with storm event. Defendant may accept and
need not Reject a tanker load based on the criteria in paragraph 7.4 if the measured

changes in turbidity are not directly correlated with a storm event (defined as greater than

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0.5 inches of rain over a 36 hour period, as measured by the nearest weather station) that
occurred within 36 hours of ihe collection of water showing the change in turbidity.

7.6 Procedure for appeal. Defendant may accept a tanker load and challenge
the application of paragraph 7.4 according to the following procedure. Within two weeks of
the decision to accept a load that does not comply with paragraph 7.4, Defendant submits a
written statement to Class Counsel that explains why Defendant believes that the water
accepted was not under the direct influence of surface water, as defined by 40 C.F.R. §
141.2. Class Counsel must file a written rebuttal! within two weeks of receiving Defendant’s
written statement In preparing this rebuttal, Class Counsel, including designated
representatives, will be given access to the records compiled under paragraph 7.3 within
one week of the submission of Defendant's written statemeni. Judge Renfrew shall then
review the written submissions and provide a determination of whether Defendant was
entitled to accept the load. If Judge Renfrew determines that Defendant should have
rejected the load as “under the direct influence of surface water’ as defined by 40 C.F.R.
141.2, Defendant shall be liabie for an amount equal to the after tax profit on the amount of
water received in the disputed load or loads. The amount shail be paid as a charitable
donation pursuant to the other provisions of the settlement agreement. Under no
circumstances shali water that Defendant need not Reject under paragraph 7.5 be
considered “under the direct influence of surface water.”

7.7 Monitoring of rain patterns. Defendant shall install, within six (6) months
following final approval of this settlement, instali rain gauges at three locations: within the
town of Fryeburg, Maine, within Defendant’s property located in Hollis, Maine, and at

Defendant's property located in Poland Spring, Maine. These rain gauges will be used to

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provide the weather data with respect to these sites for purposes of this Long Term
Monitoring Program. In determining the application of paragraph 7.5, the “nearest weather
station” for the Garden Spring site shail be the weather station located under this
paragraph at the Poiand Spring site.

7.8 On-site monitoring of turbidity. Defendant shall instali, within six (6)
months following final approval of this setilemeni, turbidity monitors at the Poland Spring,
Maine site and at the Hollis, Maine site. The turbidity monitors will be placed at such a
position to enable them to measure the turbidity of the water being collected for bottling at
all of the boreholes being used on the site. {f it is not possible to place a single turbidity
monitor tio measure the turbidity of the composite of ali water being collected for bottling at
the site, Defendant shall install whatever number of turbidity monitors are required so that
no water enters the plant from any individual borehole without passing a turbidity moniter.
The monitoring shall be continuous except for maintenance and repair activities. A
datalogger shall record the turbidity level on an hourly basis.

7.9 Turbidity by-pass at certain sites. in the event that turbidity levels
measured pursuant to paragraph 7.8 exceed by twenty five percent (25%) the average
turbidity for the previous 36 hours, and the turbidity average for the previous 36 hours and
the level measured are both greater than 1.0 nephelometric turbidity units (NTU),
Defendant will Reject the water so that it is not used for Defendant's spring water products
until the turbidity level falls below 1.0 NTU. Defendant need not Reject the water based on
the criteria in the previous sentence if the change in turbidity is not directly correlated with a

storm event (defined as greater than 0.5 inches of rain over a 36 hour pericd, as measured

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by the rain gauge established pursuant to paragraph 7.7) that occurred within 36 hours of
the change in turbidity.

7.16 Procedure for appeal. Defendant can continue to use waiter that it would
otherwise Reject pursuant to paragraph 7.9 and/or chailenge the application of paragraph
7.4 according to the following procedure. Within two weeks of the decision to accept water
that does not comply with paragraph 7.9, Defendant can submit a written statement
explaining why it believes that the water accepted was not under the direct infiuence of
surface water, as defined by 40 C.F.R. § 141.2. Plaintiffs’ designated representative will
then be allowed to respond within two weeks with a written rebuttal. In preparing this
rebuttal, Class Counsel, including designated representatives, will be given access to the
records compiled under paragraph 7.8 within one week of the submission of Defendani’s
written statement. Judge Renfrew shall then review the written submissions and provide
determination of whether Defendant was eniitled to accept the water. If Judge Renfrew
determines that Defendant should have Rejected the water as “under the direct influence of
surface water” as defined by 40 C.F.R. 141.2, Defendant will pay an amount equai to the
after tax profit on the amount of water received in the disputed load or loads. The amount
will be paid as a charitable donation pursuant to the terms of the settlement agreement.
Under no circumstances shail water that need not be Rejected under paragraph 7.9 be
considered “under the direct influence of surface water.”

7.14 Microscopic particulate monitoring. Defendant will perform Microscopic
Particulate Analyses (“MPAs”) at each of the four sites it currently collects spring water from
in the State of Maine: Poland Spring (locaied in Poland Spring), Garden Spring (tocated in

Poiand), Evergreen Spring aka Pure Mountain Spring {located in Fryeburg), and Ciear

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Spring (located in Hollis). The MPAs will be taken on each individual borehole at each site,
except that at Poland Spring and Clear Spring the MPA may be iaken on a composite basis
due to the large number of boreholes on site. The results of these tests will be made
available to the plaintiffs’ representative on demand foilowing receipt of the laboratory
results by Defendant, within two weeks of the demand. The MPAs for each of these
locations will be performed twice a year. Defendant will use good faith efforts to have the
first test of the year be completed during the period February 1 to April 30 (ihe “Spring

season test”), and the second test of the year be completed during the period August 1 to

October 31 (the “Fall season test”).

7.12 Results of first test; second test. In the event that either a Spring season
test or Fall season test shows “high risk” of surface water influence as measured under the
Environmentai Protection Agency Consensus Method for Microscopic Particulate Analysis,
Defendant will perform a second test within two (2) weeks of receiving the results. if that
test also shows “high risk" of surface water infiuence, the situation will be treated in
accordance with paragraph 7.13 below. {f that test does not show “high risk” of surface
water influence, the previous result will be considered to be the result of testing error, and
will be disregarded.

7.13 Effect of two “high risk” MPAs. Ifthe second MPA performed pursuant to
paragraph 7.12 shows “high risk,” Defendant will Reject the water that is collected within
one week of a storm event (defined as greater than 0.5 inches of rain over a 36 hour
period, as measured by the nearest weather station as established by paragraph 7.7
above) from ihat source for the next twelve (12} months. Defendant may use and need not

Reject the water from that source if there has been no storm event during the previous

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seven (7) days. This paragraph shall not apply if Defendant subsequently conducts an
MPA test within seven (7) days of a storm event and that MPA test shows a result of
“moderate” or “low’ risk of surface water influence.

7.14 Procedure for appeal. Defendant can also utilize a source and challenge the
application of paragraph 7.13 according to the following procedure. Within two (2) weeks of
the decision not to Reject a load that does not comply with paragraph 7.13, Defendant can
submit a written statement explaining why it believes that the water accepted was not under
the direct influence of surface water, as defined by 40 C.F.R. § 141.2. Plaintiffs’ designated
representative will then be allowed to respond within two (2) weeks with a written rebuttal.
in preparing this rebuttal, the plaintiffs’ designated representative will be given access to
ihe records compiled under paragraph 7.11 within one (1} week of the submission of
Defendani’s written statement. Judge Renfrew shail then review the written submissions
and provide a determination of whether Defendant was entitled to accept the water. If
Judge Renfrew determines that Defendant should have Rejected the water from that
source as “under the direct influence of surface water” as defined by 40 C.F.R. § 141.2,
Defendant shall pay an amount equat to the after tax profit on the amount of water received
inthe disputed load or loads. The amount will be paid as a charitable donation pursuant to
the provisions of the Agreement. Under no circumstances will water that need not be
rejected under the provisions of paragraphs 7.12 and 7.13 be considered “under the direct
influence of surface waiter.”

7.15 Duration of long term monitoring and MPA monitoring requirements.

The provisions of the long term monitoring program set forth in paragraphs 7.1 - 7.14 above

shall be in effect for five (5) years from the Effective Date.

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7.16 Generali dispute resolution provision. lf Ciass Counsel contest Defendant's
compliance with the Rules of Section 7, Class Counsel shall provide written notice to
Defendant at the office of its general counsel. Defendant will then be required to respond
to this written notice by explaining the reasons for violation, or why it contends no violation
occurred. Any disputes about whether a violation occurred, or whether Defendant acted
reasonably in violating the rule, will be determined according to the following procedure.
Judge Renfrew shall review the plaintiffs’ written notice and Defendant's response, and any
additional materials submitted by the parties. Plaintiffs’ representative will have the burden
of establishing, by a preponderance of the evidence, that a violation occurred, and that
such violation was not substantially justified consistent with the principies set out in the
above rules. If Judge Renfrew determines that Defendant violated the rules without
substantial justification, he may impose a payment requirement of up to the amouni of
after-tax profit that is attributable to the violation. The amount will be paid as a charitable
donation pursuant to the provisions of this Agreement. The rules in this paragraph shall not
apply to an appeal.

7.17 None of the terms of this Section shall be construed to create or impiy a
definition of “direct influence of surface water’ other than as set forth in 40 C.F.R. § 141.2.
The agreement to Reject water under certain conditions as set forth in this Agreement does
not constitute an admission or concession that such water is a fact under the direct
influence of surface water.

8. CERTIFICATION OF SETTLEMENT CLASS

8.4 For setilement purposes only, the Parties stipulate that the Class

Representative is an adequate representative of the Settiement Class, that the putative

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class is so numerous that joinder is impossible, that common issues predominate over
individual or unique issues, and the Parties shall request, as part of the Preliminary
Approval Order, that the Court enter an order certifying the Settlement Class, and

appointing Plaintiff as representative of the Settlement Class.

8.2 Defendant does not consent to certification of the Setilement Class for any
purpose other than fo effectuate ihe Settiement and dismiss the Action. If this Agreement
is terminated pursuant to its terms, the Effective Date does not occur, or for any reason the
Settlement described in this Agreement is not effectuated, any order certifying the
Settlement Class shall be vacated upon notice of termination of the Settlement to the Court,
and the Action shall proceed as though the Settlement Class had never been certified,

without prejudice to the Parties io either request or oppose class certification.

9. ORDER PRELIMINARILY APPROVING SETTLEMENT, APPROVING
NOTICE OF PROPOSED SETTLEMENT, AND SETTING SETTLEMENT HEARING

9.1 The Parties agree to apply to the Court for entry of a Preliminary Order,
substantially in the form of Exhibit A to this Agreement, as soon as practicable after the

execution of this Agreement. The Preliminary Order shall contain the provisions set forth in

paragraphs 9.2 through 9.16.
9.2 The Preliminary Order shall adopt the definitions set forth in paragraphs 2.1

through 2.23 of ihis Agreement.

9.3 ThePreliminary Order shall preliminarily approve this Agreement, and each of
the releases and other terms set forth herein, as falling within the range of possible
approval and meriting submission to the Settlement Class Members for consideration.

94 The Preliminary Order shail provisionally certify the Settlement Class as:

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“All persons and/or entities who have purchased and/or consumed
Poland Spring brand of bottled water and/or Poland Spring brand of
spring water products within the United States of America any time
during the period January 1, 1996 to the present. Excluded from the
class are Defendants, their subsidiaries and affiliates, and any officers
and directors thereof, as well as any judge presiding over this action,

the judge’s spouse and immediate family.”

The Preliminary Order shail also provisionally designate KENNETH RAMSEY as
Class Representative. The Preliminary Order shali also provisionally designate Attorney
Robert M. Foote of FOOTE, MEYERS, MIELKE & FLOWERS, LLC and Attorney Kathleen

C. Chavez of CHAVEZ LAW FIRM as Ciass Counsel.
9.5 The Preliminary Order shall appoint L. STEPHENS TILGHMAN of Tilghman

& Co., P.C. as Notice Plan Administrator, and shall provide for the implementation of the

Notice Plan (“Notice Plan”) as set forth in the Affidavit of L. Stephens Tilghman attached

hereto as Exhbit B.
9.6 The Preliminary Order shall require that Class Counsei shall publish, at

Defendant's expense, but limited to the amounts listed in the Notice Plan, in the manner set
forth in the Notice Plan, a form of summary notice of the proposed setilement (“Summary
Notice”), substantially in the form attached hereto as Exhibit C. The Preliminary Order
shall require that Class Counsel, at Defendant's expense, mail by first class a copy of the
long form of notice (“Long Notice”) substantially in the form attached hereto as Exhibit D, to
present and former customers of Defendant's Poland Spring home and office detivery

business who were mailed an invoice going back to December, 1999. The Preliminary

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Order shali require that Class Counsel shall post a website, as set forth in the Notice Pian,
which shall provide for the viewing and downloading of a copy of this Agreement and the
Long Notice.

9.7 The Preliminary Order shall find that dissemination of the Noiice in the
manner required by paragraph 9.6 constitutes the best notice practicable under the
circumstances to potential members of the Settlement Class and complies fully with Illinois
law, the United States Constitution, and any other applicable law.

9.8 The Preliminary Order shall provide for a Settlement Hearing to be heid ona
date to be set forth in the order, at which the Court will determine: (1} whether the
settlement of the Action should be approved as fair, reasonable and adequate; (2) whether
a Final Judgment as provided in Section 10 of this Agreement should be entered; (3)
whether a final order certifying the Settlement Class should be approved; and (4) whether
the application of Class Counsel for an award of attorneys’ fees, costs and expenses
pursuant to Section 12 of this Agreement should be approved. The Court may adjourn or
continue the Settlement Hearing without further notice fo the Settlement Class.

9.9 The Preliminary Order shall provide that at or after the Settlement Hearing,
the Court shall rule on the application of Class Counsel for an award of attorneys’ fees,
costs and expenses, and for payment to the class representative. Defendant shall not
object to an award of fees in an amount not io exceed one million three hundred and fifty
thousand dollars ($1,350,000.00}. Defendant shall not object to an award of costs and
expenses not to exceed seventy thousand dollars ($70,000.00). Fees and expenses to
class representaitve will be paid by Defendant in addition io the relief granted to the class.

Defendant shail not object to payment to Ciass Representative Kenneth Ramsey in an

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amount not greater than twelve thousand dollars ($12,000.00). Any orders or proceedings
relating to the application of Class Counsel for an award of attorneys’ fees, costs and
expenses shall not operate to terminate or cancel this Agreement, and shail have no effect
on the finality of the Final Judgment to be entered pursuant to this Agreement. The
payment of approved aiforneys’ fees, expenses, costs and award to the Class
Representative shaii be paid within thirty (0) business days of the Effective Date.

9.10 The Preliminary Order shall provide that any Settlement Class Member who
objects to the settlement of the Class Action or the application of Class Counsel for
attorneys’ fees, costs, and expenses, and award to Class Represeniative shail have a right
to appear and be heard at ihe Settlement Hearing. Any such person must file with the
Court and deliver to Class Counsel and Counsel for Defendant a written notice of objection
postmarked on or before a date to be set forth in the order. The manner by which a notice
of objection should be prepared, filed, and delivered shali be stated in the Notice. Only
Settlement Class Members who have filed and delivered valid and timely written notices of
objection will be entitled to be heard at Settlement Hearing, unless the Court otherwise so
orders.

9.11 The Preliminary Order shall provide that briefs supporting or opposing the
setitement shall be served and filed in accordance with the schedule set forth in the
Preliminary Order.

9.12 The Preliminary Order shalt provide that neither the Preliminary Order, nor
this Agreement, ner any of its terms or provisions, nor any of the negotiations or

proceedings connected with it, shall be construed as an admission or concession by

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Defendant of the truth of any of the allegations in the Complaint, or of any liability, fault, or
wrongdoing of any kind.

9.13 The Preliminary Order shall stay all discovery and other proceedings in the
Action with respect to the claims and defenses of the parties io this Agreement until further
order of the Court, except as may be necessary io implement the settlement of the Action
or comply with the terms of this Agreement.

9.14 The Preliminary Order shali bar and enjoin all Releasors from commencing or
prosecuting any direct or representative action, or any action in any other capacity,
asserting or relating to any of the Released Claims, unless and until this Agreement is
terminated according to its terms. The Preliminary Order shall provide that following the
issuance of the Final Approval, the Court shail retain continuing jurisdiction over the subject
matter of the Action, the Class Representative, the Settiement Class Members, and the
Defendant to administer the maiters set forth in this Agreement. The order shalt provide
that in the Final Approval, the Court shall appoint Judge Renfrew as Special Master to
decide any and ail disputes arising under or related to this Agreemeni as provided for in
paragraph 714.4.

9.15 The Preliminary Order shail provide that the Final Judgment will permanentiy
bar and enjoin all Releasors from commencing or prosecuting any direct or representative
action, or any action in any other capacity, asserting or relating to any of the Released
Claims.

9.16 The Preliminary Order shall provide that the Court may, for good cause,

extend any of the deadlines set forth in the order without further notice to the Settlement

Class.

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10. FINAL JUDGMENT AND ORDER OF DISMISSAL OF THE ACTION

10.1 Class Counsel and Counsel for Defendant agree to apply to the Court for
entry of a Final Judgment and Order of Dismissal of the Action, substantially in the form of
Exhibit D to this Agreement, at the conclusion of the Court’s consideration of the issues to
be determined at the Settiement Hearing provided for in paragraph 9.8. The Final
Judgment shall contain the provisions set forth in paragraphs 10.2 through 10.12.

10.2 The Final Judgment shail adopt the definitions set forth in paragraphs 2.1
through 2.23 of this Agreement.

10.3 The Final Judgment shail provide that the Court has continuing jurisdiction
over the subject maiter of the Action, the Class Representative, the Settlement Class
Members, and the Defendant to administer the matters set forth in this Agreement.

10.4 The Final Judgment shall find that ihe publication of the Summary Notice and
mailing of the Long Notice as provided for in the Preliminary Order constituted the best
notice practicable under the circumstances to all persons within the definition of the
Settlement Class, and fully complied wiih illinois law, the United States Constitution, and
any other applicabie law. The Final Judgment shail certify the Settlement Class.

10.5 The Final Judgment shall approve the settlement of the Action set forth in this
Agreement, including the respective contributions of the Defendant, each of the releases
and other terms, set forth herein, as fair, reasonable, and adequate to the Parties. The
Finat Judgment shall order the Parties to consummate the settlement in accordance with its
terms as set forth in this Agreement.

10.6 The Final Judgment shail dismiss the Action, and all claims contained therein,

with prejudice to the Plaintiff and all Setilement Class Members.

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10.7 The Final Judgment shall provide that all Releasors shail conclusively be
deemed to have released and forever discharged the Released Persons from all Released
Claims.

10.8 The Final Judgment shali provide that all Releasors shall conclusively be
deemed to have acknowledged that the Released Ciaims include all claims, rights,
demands, causes of action, liabilities, or suits, including Unknown Claims, as of the
Effective Date. These persons noneiheless release all such claims.

10.9 The Finat Judgment shail permanently bar and enjoin all Releasors from
commencing or prosecuting any direct or representative action, or any action in any other

capacity, asserting or relating to any of the Reieased Claims.

10.10 The Final Judgment shall provide that the Court reserves exclusive and
continuing jurisdiction over the Action, the Class Representative, the Settlement Class
Members, the Defendant and this Agreement. The Final Judgment shall appoint Judge

Renfrew as Special Master to decide any and all disputes arising under or related to this

Agreement as provided for in paragraph 14.4

16.11 The Final Judgment shail provide that neither the Final Judgment, nor this
Agreement, nor any of its terms or provisions, nor any of the negotiations or proceedings
connected with it, shail be: (1) construed as an admission or concession by Defendant of
the truth of any of the allegations in the complaint, or of any liability, fault, or wrongdoing of
any kind; or (2) referred to, offered as evidence, or received in evidence in any pending or
future civil, criminal, or administrative action or proceeding, except in a proceeding to

enforce the Final Judgment, or to defend against the assertion of the Released Claims, or

as otherwise required by law.

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10.12 The Final Judgment shall provide that, within thirty (30) days of the Final
Judgment, Class Counsel shall return to Counsel! for Defendant the originals and all copies

of all documents produced to the Class Representatives by Defendant or by Defendant’s

Counsel during the course of discovery in the Action.

11. RELEASES
11.1 As of the Effective Date, the Ciass Representative hereby fully, finally and

forever releases, relinquishes and discharges all Released Claims (including “Unknown
Claims”) against the Defendant and each and all of the Released Persons.

11.2 As of the Effective Date, each and alt Settlement Class Members shall be
deemed to have fully, finally and forever released, relinquished and discharged all

Released Claims (including “Unknown Claims”) against the Defendant and each and ail of

Released Persons.

11.3 As of the Effective Date, the Defendant hereby fully, finally and forever
releases, relinquishes and discharges all Released Claims {including “Unknown
Claims”) against ithe Class Representative and their counse!.

12. ATTORNEYS’ FEES, COSTS AND EXPENSES

12.1 The Class Representative or Class Counsel may apply to the Court for: (1} an
award of attorneys’ fees; plus (2) reimbursement of any costs and expenses incurred in
connection with the Action pursuant to paragraph 9.9 above. The application shalt be
considered separately from the Couri’s consideration of the fairness, reasonableness, and
adequacy of the seitlement set forth in this Agreement. Nothing regarding the Court’s

decision on ihe application for attorneys’ fees, costs, and expenses shall operate to

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terminate or cancel this Agreement, or have any effect on the finality of the Final Approval
and order of dismissal.

12.2 Class Counsel shall request thai the Court award a specific amount to Ciass
Counsel for their attorneys’ fees and the amount they should be reimbursed for their actual
costs and expenses, including expert fees. The Defendant has agreed not to object to a
fee petition that does not exceed the amount of one million three hundred and fifty
thousand dollars ($1,350,000.00) to be paid to Class Counsel. The Defendant has agreed
not to object to a cosis and expense petition that does not exceed the amount of seventy

thousand dollars ($70,000.00) to be paid to Class Counset for reimbursement of costs and

expenses incurred in the litigation of this maiter.

13. EFFECTIVE DATE OF THE SETTLEMENT AGREEMENT
13.1. The Final Judgment of the Class Action shali become effective and final on

the first date by which all of the events set forth in paragraphs 13.2 through 13.11 have

occurred.

13.2 Class Counsel and Counsel for Defendant have executed this Agreement.

13.3 The Court has entered the Preliminary Order as provided for in paragraphs

9.4 through 9.16.
13.4 The Court has held the Setilement Hearing as provided for in paragraph 9.8.

13.5 The Court has entered the Final Judgment as provided for in paragraphs 10.1

through 16.12.

13.6 The time to appeal from the Final Judgment, has expired without any appeal

having been perfected, thirty days (30) after entry of Final Judgment.

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43.7 (If any appeal is taken from the Final Judgment or any interim order in the
“Action, the appeal has either been dismissed or has been affirmed.

43.8 {faruling or decision is entered by an appellate court with respect to the Final
Judgment or any interim order in the Action, the time to petition for a writ of certiorari with
respect to the ruling or decision has expired.

43.9 lf aruling or decision is entered by an appellate court with respect to the Final
Judgment or any interim order in the Action, the time to petition for review by the Mlinois
Supreme Court with respect to the ruling or decision has expired; or if filed, such a petition
has been denied or dismissed; or, if filed and granted, has resulted in affirming the
judgment or order.

13.10 !f a petition for a writ of certiorari with respect to the Fina! Judgment or any
interim order in the Action is filed, the petition has been denied or dismissed, or, if granted,
has resulted in affirming the judgment or order.

43.11 Any proceeding or order, or any appeai or petition for writ of certiorari
periaining solely to an application for attorney's fees, costs or expenses shall not in any

way delay or preclude the Final Judgment from becoming Effective.

14. OTHER TERMS

14.1. The Parties agree to exercise their best mutual efforts to accomplish the

terms and conditions of the Agreement.

14.2 This Agreement constitutes the entire setilement among the Parties and

supersedes any prior agreements or understandings between them relating to the

setilemeni of the Action.

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44.3 The Agreement may be amended or modified only by a written instrument
signed by Class Counsel and Counsel for Defendant. Amendments and modifications may
be made without notice to the Settlement Class unless the Court requires notice.

14.4 The Agreement and exhibits shall be subject to, governed by, and constituted
and enforced pursuant to the laws of the State of Illinois, without reference to its conflicts of
law provisions. The parties agree that any disputes arising out of, in connection with, or
related to this Settlement Agreement shall be submitted for binding arbitration to the Hon.
Charles Renfrew (retired). The parties agree that any decision made by Judge Renirew
shail be final and binding on the Plaintiff, the Settlement Class and the Defendant. In the
event that Judge Renfrew is not available or is unwilling to decide any dispute submitted to
him, the parties agree that they shall use good faith efforts to agree on an alternate retired
Federal Judge to decide the dispute. in the event that the parties are unable to decide on
such individual, they agree to submit the matter to JAMS for appointment of such individual.

14.5 The exhibits to the Agreement are an integral pari of the setilement and are

hereby incorporated and made a part of the Agreement.

14.6 Counsel for Defendant represent that they have the full authority of the

Defendant to execute the Agreement.

14.7 The Agreement may be executed in one or more counterparts, which together

shall be deemed one original agreement. Execution via facsimile shall be acceptable to

bind a party as an original.

14.8 The Parties agree that any rule of construction to ihe effect that any

ambiguities are to be construed against the drafting parties shall not be emptoyed in the

interpretation of this Agreement.

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14.9 The Parties iniend this settlement to be a final and compiete resolution of
all disputes between then with respect to the Action. The settlement compromises
claims which are contested and shall not be deemed an admission by any Party as to

the merits of any claim or defense.

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IN WITNESS WHEREOF, the Parties, and their respective counsel, have executed this Settlement

Agreemeni as of , 2003.
CLASS REPRESENTATIVE

By:

 

KENNETH RAMSEY

NESTLE WATERS NORTH AMERICA INC.

By:

 

J. MARK EVANS
Vice Presideni, General Counsel & Secretary

FOOTE, MEYERS, MIELKE & FLOWERS, LLC

 

BY:

ROBERT M. FOOTE, ESQ.
CHAVEZ LAW FIRM
BY:

 

KATHLEEN C. CHAVEZ, ESQ.

ORLOFF, LOWENBACH,STIFELMAN & SIEGEL

BY:

 

JEFFREY M. GARROD, ESQ.

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